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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )
                                          )         MANUAL FILING NOTICE OF
v.                                        )         JOINT EXHIBIT 001
                                          )
TARGET CORPORATION,                       )
                                          )         Judge:   Hon. Laurel Beeler
   Defendant.                             )
                                          )
_________________________________________ )
          Case 3:21-cv-08458-LB Document 165 Filed 02/29/24 Page 2 of 2


                                   MANUAL FILING NOTIFICATION

Regarding: __JOINT EXHIBIT 001

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Date: February 29, 2024                              Respectfully submitted,
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